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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

    _________________________________________

    In Re: COOK MEDICAL, INC., IVC FILTERS
    MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
    PRODUCTS LIABILITY LITIGATION                                  MDL No. 2570
    _________________________________________

    This Document Relates to All Actions
    _________________________________________

                    CASE MANAGEMENT ORDER REGARDING
                COORDINATION WITH STATE COURT LITIGATION (CMO 26)

            Due to the importance of coordination between state and federal courts in national mass

    tort litigation, the Court enters this Order regarding coordination between state and federal courts

    involved in Cook IVC Filter product liability litigation. The Court wishes to scrupulously respect

    the sovereignty and authority of the state courts managing Cook IVC Filter litigation, and it enters

    this Order in the hopes of increasing cooperation and coordination for the benefit of the judiciary,

    the parties, and the witnesses involved in this litigation.

       I.      ROLES AND RESPONSIBILITIES OF THE PARTIES

            The Plaintiffs and Defendants in this litigation, and in particular lead and liaison counsel

    for the same, shall work to coordinate to the extent practicable the conduct of this litigation with

    other actions involving the marketing, sales practices, and products liability litigation of Cook IVC

    filters (“Devices”), as described by the United States Judicial Panel on Multidistrict Litigation’s

    October 15, 2014 order establishing this MDL. Such coordination is intended to conserve scarce

    judicial resources, eliminate duplicative discovery, serve the convenience of the parties and

    witnesses, and promote the just and efficient conduct of this litigation, while at the same time

    protecting the interests of the MDL plaintiffs and the state court plaintiffs.
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           It is contemplated by the Court that all discovery conducted in these proceedings may be

   utilized in any related state court action, in accordance with that state’s law and rules of evidence

   and procedure, and vice versa, subject to the common benefit fee and expense fund case

   management order. (Dkt. 1246.) The Court encourages state courts with actions involving the

   Devices to adopt this Order or a similar order. The Court also encourages parties in those state

   court actions to agree to abide by the terms of this Order.

           The role and responsibilities of Cook and the Plaintiffs’ Leadership Counsel (“PLC”)

   include, without limitation, the following:

           A. Coordinate Discovery with State Court Actions.

           Where possible, the parties should work together to avoid duplicative, disproportionate,

   and unnecessary discovery in state court litigation. To facilitate this process, the Court orders that

   depositions noticed in this MDL may be cross-noticed in any state court proceeding.

           This Court is also cognizant that it has entered multiple discovery-related Case

   Management Orders.        Because it would be inefficient to re-hash out each of these Case

   Management Orders in individual state court actions, the Court orders that, where feasible, the

   parties inform state courts of all applicable and relevant Case Management Orders entered by this

   Court so that state court judges may consider whether similar Case Management Orders make

   sense in their jurisdictions.

           B. Communications between the PLC and Counsel in State Court Actions and/or
              State Courts.

           The PLC shall make reasonable efforts to ensure that plaintiffs’ counsel in state court

   actions and the state courts are kept apprised of the course of these MDL proceedings. This

   includes regular contact with state court counsel to inform them of any motions or hearings before

   this Court, the status of discovery, the status of the MDL proceedings, deadlines in the MDL, and



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   any other relevant issues or information in the MDL. Counsel for both parties will be available to

   consult and answer any questions regarding the MDL proceedings. Counsel for both parties may

   coordinate any necessary telephone conferences, meetings, and discovery efforts with the state

   court actions. Nothing in this Order is intended to violate the attorney-client privilege or any

   related state privilege doctrine.

      II.       COORDINATION BETWEEN THE MDL COURT AND STATE COURTS

             In order to achieve the full benefits of this MDL proceeding, this Court may take efforts to

   coordinate with state courts presiding over related cases. Coordination may include periodic status

   updates and, where appropriate, joint orders, conferences, or hearings that will allow the parties in

   the state court actions to fully utilize any discovery conducted in the MDL proceedings and vice

   versa. The Court expects counsel for parties in the MDL proceeding to take reasonable steps to

   assure such coordination is achieved wherever practicable. To that end, counsel for the parties

   shall jointly submit to the Court periodic status reports on the state cases, along with contact

   information for all state court judges presiding over such cases. The status reports shall clearly

   identify new state court cases.

      III.      INITIAL IMPARTIAL LETTER TO STATE COURT JUDGES
                SUMMARIZING COMMON FACT DISCOVERY AND THIS COURT’S
                BELLWETHER PLAN

             To facilitate the development of coordination between this Court and state courts, this

   Court will send an initial impartial letter to each presently unremovable state court action

   summarizing the status of common fact discovery conducted in this MDL and informing the state

   courts of any discovery-related Case Management Order, including this Court’s Order on Rules,

   Policies, Procedures, Guidelines Relating to Establishing Common Benefit Fee and Expense Fund.

   The Court will also inform the state courts of this Court’s bellwether selection process and




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   periodically update these state courts regarding this Court’s expected trial and hearing dates so that

   state courts may take advantage of these opportunities to learn about the litigation if they choose

   to do so.

          SO ORDERED this 25th day of October 2019.




   Distributed Electronically to Registered Counsel of Record




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